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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 13–12–M–DLC
                      Plaintiff,
                                                              ORDER
        vs.


 DONALD LEROY RICKARDS,


                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on July 18, 2013. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

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      Judge Lynch recommended this Court accept Donald Leroy Rickards’ guilty

plea after Rickards appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered his plea of guilty to one count of conspiracy to

distribute methamphetamine in violation of 21 U.S.C. § 841(a)(1) and 846, as set

forth in Count I of the Indictment. In exchange for Defendant’s plea, the United

States has agreed to dismiss Count II of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (doc.

60), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Donald Leroy Rickards’ motion to

change plea (doc. 37) is GRANTED.

      DATED this 13th day of August, 2013.




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